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                                          U.S. Department of Justice
                                          Civil Division
40-82-103.03                              Office of Immigration Litigation
________________________________________________________________________
                                                      Washington, D.C. 20530


VIA CM/ECF                                           February 9, 2022
Honorable James Donato
United States District Court, Northern District of California
San Francisco Courthouse, Courtroom 11, 19th Floor
450 Golden Gate Avenue
San Francisco, California 94102

       Re:     Emami v. Nielsen, No. 18-cv-1587-JD, and Pars Equality Center v. Pompeo,
               No. 18-cv-7818-JD

Dear Judge Donato:

         Defendants write to respond to Plaintiffs’ most recent letter requesting that the Court lift
its stay in these cases based on their belief that they still possess live claims. As Defendants have
consistently stated, these cases are moot because Presidential Proclamation 9645 (“PP 9645”) was
rescinded over a year ago, on January 20, 2021, when President Biden signed Presidential
Proclamation 10141 (“PP 10141”), “Ending Discriminator Bans on Entry to the United States,” 86
Fed Reg. 7005 (Jan. 20, 2021). As the State Department’s guidance makes clear, PP 10141 ended
the travel restrictions under PP 9645 and directed the agency “to pursue the processing of visa
applications for individuals from affected countries consistent with applicable law and visa
processing procedures.”1 Therefore, all claims related to waivers under the rescinded PP 9645 are
moot. Moreover, the State Department has carried out the new proclamation’s directive, as
evidently seen in the cases of these individual immigrant visa applicant plaintiffs, almost all of
whom have had their prior refusals reconsidered and have been found eligible and issued visas by
now. The few who have not been found eligible and issued visas either are ineligible for visas on
other grounds, have failed to respond to the consular officer’s request for necessary information,
or are being reconsidered while the consular officer waits for an interagency response. Indeed, the
Court stayed and administratively closed these cases—also terminating all discovery disputes
raised by Plaintiffs—in light of the rescission, stopping short of outright dismissal only so that it
might observe whether the State Department would implement the provisions of the new
proclamation and “remedy the harms [P]laintiffs have alleged in these cases.” Emami, ECF
No. 176. Defendants have demonstrated, via the joint status report, that the agency has done just
that, and now ask that the Court, consistent with its considered order staying these cases, dismiss
Plaintiffs’ claims as moot.



1
 “Presidential Proclamation 9645 and Presidential Proclamation 9983,” U.S. Department of State,
https://travel.state.gov/content/travel/en/us-visas/visa-information-resources/presidential-
proclamation-archive/presidential-proclamation9645.html.




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         In their letter, Plaintiffs allege that the rescission somehow did not “resolve the harms for
the majority of individuals who were denied visas” pursuant to PP 9645 and “who have still not
been granted visas.” Emami, ECF No. 190 at 1. That is incorrect. As counsel for Defendants
explained during the status hearing on September 2, 2021, the State Department has issued and
implemented guidance that explicitly sets out procedures for the reconsideration of visa
applications previously refused under PP 9645.2 The policies challenged in Plaintiffs’ complaints
no longer exist, and the new policies that have supplanted them are designed to ensure prompt
processing of pending visa applications—which is the most that could have been obtained in a suit
that challenged the prior policies. Importantly, Plaintiffs’ complaints do not challenge the policies
currently in existence, which should be the end of the matter as far as these suits are concerned.
Under these new proclamation, immigrant visa applicants denied waivers on or after January 20,
2020, “may request their local embassy or consulate to reconsider their case within one year of the
date of their waiver refusal” even without submitting a new application or paying a new fee,
consistent with State Department regulations.3 As for immigrant visa applicants whose waiver
eligibility was still being evaluated as of January 20, 2021, the guidance assures that they “will
continue to have their applications processed” and that “[e]mbassies and consulates are prioritizing
the adjudication of applications for those individuals.”4

        The exemption from paying new fees extends even to immigrant visa applicants who were
previously refused and found ineligible for waivers under PP 9645 before January 20, 2020: As
laid out in recent guidance, the State Department has amended 22 C.F.R. §§ 22.1 and 42.71—
which govern immigrant visa fees—to exempt from such fees “certain applicants previously
denied an [immigrant visa] solely due to [PP] 9645.”5 Thus, the guidance further explicates, “all
[immigrant visa] applicants previously denied an [immigrant visa] on or between December 8,
2017, and January 19, 2020,” solely based on PP 9645, “are exempted from paying a new
[immigrant visa] application fee or affidavit of support fee if applying again for an [immigrant



2
  “Rescission of Presidential Proclamations 9645 and 9983,” U.S. Department of State,
https://travel.state.gov/content/travel/en/News/visas-news/rescission-of-presidential-
proclamations-9645-and-9983.html.
3
  These applicants fall within the operation of 22 C.F.R. § 42.81(e), which provides that “an
additional application fee shall not be required” if an applicant within one year from the date of a
visa refusal “adduces further evidence tending to overcome the ground of ineligibility on which
the refusal was based.” Guidance from the State Department explicitly states that it considers
PP 10141 “as the presentation of evidence overcoming the ineligibility, thus allowing cases
refused within the prior year to be reconsidered under 22 C.F.R. § 42.81(e) without a new
application fee.” “Immigrant Visa Fee Exemption for Applicants Previously Refused under
Presidential      Proclamations     9645     and     9983,”     U.S.    Department      of    State,
https://travel.state.gov/content/travel/en/News/visas-news/iv-fee-exemption-for-applicants-
previously-refused-under-pps-9645-and-9983.html.
4
    “Rescission of Presidential Proclamations 9645 and 9983,” supra note 2.
5
  “Immigrant Visa Fee Exemption for Applicants Previously Refused under Presidential
Proclamations 9645 and 9983,” supra note 3.




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visa].”6 Defendants’ counsel have consulted with State Department personnel and are unaware of
any affected applicants—regardless of when they were finally refused under PP 9645—who have
been required to pay new fees for reconsideration.

        The State Department’s guidance also addresses nonimmigrant visa applicants previously
refused under PP 9645 who did not qualify for a waiver, explaining that they “will need to submit
a new visa application (DS-160) and pay a new visa application processing fee if they wish to
reapply for a visa.”7 Plaintiffs argue that these nonimmigrant visa applicants are not reconsidered
in the manner of immigrant visa applicants previously refused under PP 9645, but they do not
challenge this distinction in their complaints. In any case, there is good reason to treat the two
groups differently: Nonimmigrant visa applicants, by definition, seek to enter the United States on
a temporary basis—and certainly not for any purposes that would remain valid over the multiple
years that have transpired since the nonimmigrant visa plaintiffs here initially submitted their
applications.8 See Emami, ECF No. 1. While these individuals are not precluded from applying for
visas if they still seek to travel to the United States, consular officers cannot find that they meet
their legal burden of establishing eligibility based on their now-expired reasons for travel and
claims made years ago to try and show their residence abroad.

        In sum, over the past year, the State Department has fully implemented PP 10141, taking
deliberate measures—even amending existing regulations to exempt applicants from additional
fees—to ensure that most categories of visa applications previously refused under PP 9645 are
regularly reconsidered with minimal burden to the applicants. 9 The vast majority of named
plaintiffs here have benefitted from the agency’s procedures, having been found eligible and issued
visas, some upon reconsideration. As displayed in the joint chart, of the 46 named petitioner-
plaintiffs across the two cases, 28 have had visas issued to either their beneficiaries or themselves.
Emami, ECF No. 189. Plaintiffs acknowledge that these individual cases, in addition to four
refused cases, are all moot. Of the remaining 14, nine are nonimmigrant visa applicants who have
not applied for new visas. Id. Plaintiffs contend that these individuals are “unable to apply” because
of a lack of appointments, but the press of business at these posts is not a result of the rescinded
proclamation. Instead, consular posts are diligently processing large volumes of visa applications
amidst delays caused by a global pandemic, and appointment slots are being made available on a
continuing basis. Id. In any case, these nonimmigrant visa applicants would not have viable claims
even if they applied for new visas, where their new applications would necessarily be unrelated to
their previous reasons for desired travel and require a new review.

6
    Id.
7
    “Rescission of Presidential Proclamations 9645 and 9983,” supra note 2.
8
  “Directory of Visa Categories,” U.S. Department of State, https://travel.state.gov/content/
travel/en/us-visas/visa-information-resources/all-visa-categories.html.
9
  The State Department guidance, for instance, is clear that applicants who were denied immigrant
visas under PP 9645 “and additional refusal grounds” are not exempt from additional fees, “unless
a consular officer had previously determined that the refusal on other grounds had been overcome
and the only impediment to issuance of an [immigrant visa] on January 20, 2021,” was due to PP
9645. “Immigrant Visa Fee Exemption for Applicants Previously Refused under Presidential
Proclamations 9645 and 9983,” supra note 3.




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        Finally, of the five immigrant visa applicants who have not received visas, one is a diversity
visa applicant whose eligibility for the program expired at the end of fiscal year 2018 (Mohsen
Zamani), see 8 U.S.C. § 1154(a)(1)(I)(ii)(II), while three have either not sought reconsideration
(Behnam Babalou) or failed to respond to consular requests for required documents such as
updated medical exam certificates (Khadija Aden, Ehsan Heidaryan). That leaves just one plaintiff
for whom reconsideration is ongoing (Nastaran Haji Heydari). But even in that solitary case, the
application has already been refused under 8 U.S.C. § 1201(g) (providing that no visa shall be
issued if, inter alia, it appears to the consular officer that the applicant is ineligible to receive a
visa). Thus, the Court may dismiss even that lone remaining plaintiff’s claim as moot, particularly
where PP 9645 has been rescinded in its entirety and the State Department has assiduously
implemented the new proclamation’s requirements—which, it bears repeating, are not the basis of
the operative complaints.

         In light of the foregoing, Defendants respectfully request that the Court, having already
stayed and administratively closed these cases, dismiss Plaintiffs’ claims as moot. And while
Defendants agree that the issue of mootness has sufficiently been set forth by the parties in their
prior filings, they are prepared to provide additional briefing if the Court finds it necessary.


Dated: February 9, 2022                                Respectfully submitted,

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